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 4 Email: nfreyeslaw@gmail.com

 5 Attorney for Defendant
   PEDRO DELGADO
 6

 7                          IN THE UNITED STATES DISTRICT COURT

 8                             EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                       CASE NO. 1:15-CR-00078-LJO
10                             Plaintiff,            ASSOCIATION OF COUNSEL;
                                                     CONDITIONAL ORDER
11   v.
12   PEDRO DELGADO,
13                             Defendant.
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16
           Defendant, PEDRO DELGADO, hereby associates NICHOLAS F. REYES, with
17
     law offices at 1107, Fresno, California 93721, Email: nfreyeslaw@gmail.com, in association
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     with present counsel MARIO DISALVO. All notices and documents shall be served upon
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     counsel NICHOLAS F. REYES to be served at the above address.
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21
     Dated:05/09/16                          /s/ Pedro Delgado
22                                           PEDRO DELGADO, Defendant
23 I accept the above association.

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25 Dated: 05/09/16                           /s/ Nicholas F. Reyes
                                             NICHOLAS F. REYES, ESQ.
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            Case 1:15-cr-00078-JLT-SKO Document 54 Filed 05/12/16 Page 2 of 2


                                         ORDER
 1
     Conditional GRANT, conditioned on this association’s not affecting the date currently set
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     for trial, i.e. June 7, 2016. Late substitutions or associations do not constitute grounds for
 3
     indirect motions to continue a trial date that was set with the input and agreement of counsel.
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 5 IT IS SO ORDERED.

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        Dated:    May 12, 2016                           /s/ Lawrence J. O’Neill _____
 7                                              UNITED STATES CHIEF DISTRICT JUDGE

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